        Case 2:08-cr-00295-GHK Document 173 Filed 11/03/08 Page 1 of 1 Page ID #:655


                                            UNITED STATES DISTRICT COURT                                          CC: USPO
                                            CENTRAL DISTRICT OF CALIFORNIA                                                PSA

                                               CRIMINAL MINUTES - GENERAL


 Case No.        CR 08-295 GHK                                                                Date      November 3, 2008


 Presiding: The Honorable                           GEORGE H. KING, U. S. DISTRICT JUDGE
 Interpreter      Isabela Martinez (Q’Anjob’Al)
          Beatrice Herrera                           Mary Rickey                                     Jeff Mitchell
               Deputy Clerk                         Court Reporter                            Assistant U.S. Attorney


          U.S.A. v. Defendant(s):                 Present Cust. Bond        Attorneys for Defendants:            Present App. Ret.

1) FRANCISCO ANDRES-FRANCISCO                       /      /                 Janet Sherman                           /    /


 Proceedings:          CHANGE OF PLEA



        XX         Defendant requests to change plea to the Indictment.

        XX         Defendant sworn and questioned by the Court.

        XX         Defendant NOW enters new and different plea of GUILTY to the Count 1 of the Indictment.

        XX         The Court questions the defendant regarding plea of GUILTY and FINDS that a factual basis has been
                   laid and further FINDS the plea is knowledgeable and voluntarily made. The Court ORDERS the plea
                   accepted and entered.

        XX         The Court refers the defendant to the Probation Office for investigation and report and the matter is
                   continued to FEBRUARY 2, 2009 AT 11:00 A.M. for sentencing.

        XX         The Court further ORDERS defendant shall cooperate with Probation in the preparation of a PSI report,
                   and ordered to return for sentencing on date indicated above. The record should reflect that the plea
                   agreement has been read interpreted to the defendant in his native language (Q’Anjob’Al) and signed by
                   the Interpreter. Court issues ABSTRACT re: family visitation .




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                                                                   Initials of Deputy Clerk                Bea




CR-8 (06/04)                                       CRIMINAL MINUTES- CHANGE OF PLEA                                           Page 1 of 1
